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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                         MDL No. 2843
IN RE: FACEBOOK, INC. CONSUMER           CASE NO. 3:18-MD-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION,
                                         Hon. Vince Chhabria
                                         Courtroom 4 – 17th Floor
This document relates to:                Special Master: Daniel Garrie, Esq.

ALL ACTIONS                                ORDER REGARDING MOTION TO
                                           COMPEL MARK ZUCKERBERG AND
                                           SHERYL SANDBERG AS DOCUMENT
                                           CUSTODIANS

                                           JAMS REF. NO: 1200058674




ORDER REGARDING MOTION TO COMPEL MARK ZUCKERBERG AND SHERYL SANDBERG AS
                          DOCUMENT CUSTODIANS
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                                        BACKGROUND

         1.    In September of 2021, Special Master Daniel Garrie (“Special Master Garrie”)

and Judge Gail Andler declared impasse on the issue of whether Facebook should be compelled

to add Mark Zuckerberg (“Zuckerberg”) and Sheryl Sandberg (“Sandberg”) as document custo-

dians.

         2.    Plaintiffs submitted their opening brief on this issue on September 23, 2021.

Plaintiffs argue that Zuckerberg and Sandberg should be added as document custodians because

(a) as the key decision maker on issues related to user privacy, Zuckerberg’s documents are

uniquely relevant to plaintiffs’ claims; (b) Sandberg’s documents are critical as she oversees Fa-

cebook’s monetization of user data and Facebook’s messaging regarding user data misuse; (c)

adding Zuckerberg and Sandberg as document custodians is proportional to the needs of the case

and will not cause undue burden; (d) Facebook should commence with searching the Zuckerberg

and Sandberg files in time to meet the January 31, 2022 deadline for substantial completion of

document production; and (e) the Apex Doctrine does not apply. See Exhibit A (Motion to Com-

pel Mark Zuckerberg and Sheryl Sandberg as Document Custodians).

         3.    Facebook submitted their opposition on October 4, 2021. Facebook argues that (a)

Plaintiffs fail to show that Zuckerberg and Sandberg are likely to have documents that fill sub-

stantial gaps in Facebook’s comprehensive document production; and (b) to the extent that any

collections from Zuckerberg and Sandberg are deemed necessary, performing targeted collec-

tions after the January 31, 2022 deadline for substantial completion of document production

would be appropriate and would not delay discovery as discovery does not close until June 2022.

See Exhibit B (Opposition to Plaintiffs’ Motion to Compel Mark Zuckerberg and Sheryl Sand-

berg as Document Custodians).


                                                 1
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         4.    Plaintiffs submitted their reply on October 13, 2021. Plaintiffs argue that (a)

Zuckerberg and Sandberg are likely to possess unique and relevant information because their

knowledge and statements are at the heart of Plaintiffs’ allegations, including their detailed and

intimate knowledge of friend sharing, whitelisting, business partners, and third party misuse of

information; and (b) a targeted search of Zuckerberg’s and Sandberg’s files is appropriate. See

Exhibit C (Reply in Support of Motion to Compel Mark Zuckerberg and Sheryl Sandberg as

Document Custodians).

                                            FINDINGS

         5.    Special Master Garrie finds that requiring a party to compel the designation of

additional custodians requires a showing that the disputed custodians possess uniquely relevant

information that is not available from the sources already designated. See Handloser v. HCL

America, Inc., No. 19-cv-01242-LHK (VKD), 2020 WL 7405686, at *2 (N.D. Cal. December 17,

2020) (refusing to order designation of additional custodians where plaintiffs failed to show why

they “expect to discover information from these custodians that differs from discovery they have

already obtained from the others”); see also In re EpiPen Mktg., Sales Practices and Antitrust Liti-

gation No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *2 (D. Kans. March 15, 2018) (“party mov-

ing to compel additional proposed custodians ‘must demonstrate that the additional requested custo-

dians would provide unique relevant information not already obtained’” (quoting Fort Worth Em-

ployees’ Ret. Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99, 107 (S.D.N.Y. 2013))).1




1
  This requirement flows from the prescriptions in Rule 26 that discovery must be proportional to
the needs of the case and that “the frequency or extent of discovery” must be limited if it is “is
unreasonably cumulative or duplicative, or can be obtained from some other source that is more
convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b).

                                                  2
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         6.    Special Master Garrie finds that it is likely that Zuckerberg and Sandberg possess

information relevant to the Plaintiffs’ allegations and differs from discovery already obtained

from other custodians.2

         7.    Special Master Garrie finds that Zuckerberg and Sandberg are likely to possess

unique, relevant information because they were key decision-makers related to issues at the heart

of Plaintiffs’ allegations, including friend sharing, whitelisting, business partners, and third-party

misuse of information. For instance, in a 2012 email, Zuckerberg indicates that he was involved

in both the high-level decision making and execution of a plan




                                                                           See Exhibit 10 to Plain-

tiffs’ Motion to Compel Zuckerberg and Sandberg as Custodians; see also Exhibit 12 to Plain-

tiffs’ Motion to Compel Zuckerberg and Sandberg as Custodians

                                         . Sandberg also indicated her involvement as a key deci-

sion maker in her communications related to the above. See Exhibit 12 to Plaintiffs’ Motion to

Compel Zuckerberg and Sandberg as Custodians



                                  .

         8.    Special Master Garrie finds that Zuckerberg and Sandberg, as key decision mak-

ers related to the issues of this case, are likely to possess at least some of the following categories

of relevant information not available through other data sources:3

2
 As Facebook does not contend that Zuckerberg and Sandberg are likely to possess relevant
documents, the findings herein will address only Facebook’s argument that Zuckerberg and
Sandberg do not possess information not available from other data sources.

                                                  3
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                i. Communications between Zuckerberg and Sandberg. It is possible that Zuck-
                   erberg and Sandberg communicated with each other directly regarding issues
                   relevant to Plaintiffs’ allegations and did not include any of the other custodi-
                   ans in the communications.

               ii. Communications between Zuckerberg and/or Sandberg and the board of direc-
                   tors. Given Zuckerberg’s and Sandberg’s roles as key decision makers regard-
                   ing issues relevant to Plaintiffs’ allegations, it is possible that one or both of
                   them communicated directly with members of the board of directors regarding
                   these issues without including other custodians in the communications.

              iii. Communications between Zuckerberg and/or Sandberg and third parties. Giv-
                   en Zuckerberg’s and Sandberg’s roles as key decision makers regarding issues
                   relevant to Plaintiffs’ allegations, it is possible that one or both of them com-
                   municated directly with relevant third parties, such as business partners, ven-
                   dors, etc., regarding these issues without including other custodians in the
                   communications.

              iv. Communications between Zuckerberg and/or Sandberg and non-custodian
                  subordinates. It is possible that Zuckerberg and/or Sandberg communicated
                  with non-custodian subordinates regarding issues relevant to Plaintiffs’ allega-
                  tions and Zuckerberg and Sandberg without including other custodians in the
                  communications.


         9.    Special Master Garrie finds that the benefit of collecting, reviewing, producing

the above information prior to the January 31, 2022 deadline for substantial document production

outweighs the burden imposed on Facebook because Facebook has represented that over two-

thirds of its review is complete, and there remains ample time for Facebook to complete this tar-

geted collection and review with an appropriate protocol. See Williams v. Apple, Inc., No. 19-

cv-04700-LHK (VKD), 2020 WL 5107639, at *2 (N.D. Cal. August 31, 2020) (“[Defendant’s]

burden can be substantially mitigated by application of appropriately narrow search terms and

de-duplication of ESI across custodians.”).

3
  Special Master Garrie notes that it is not certain that any of the information listed below exists
and Zuckerberg and Sandberg may possess other categories of relevant information not available
through other sources. The parties are to meet confer regarding potential additional categories of
relevant information not available through other sources as discussed in ¶ 8 below.

                                                 4
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                                              ORDER

        10.    No later than November 19, 2021 the parties are to meet and confer and submit a

joint proposed protocol for performing a search and collection targeting, at a minimum, the cate-

gories of communications identified above. The targeted search and collection of Zuckerberg’s

and Sandberg’s files are to be completed prior to the January 31, 2022 deadline for substantial

completion of document production. The parties may propose additional categories of relevant

documents that are likely to be in Zuckerberg’s or Sandberg’s possession and not available

through other data sources. The joint proposed protocol is to identify any areas of disagreement

between the parties.

        11.    Special Master Garrie may modify the proposed protocol at his discretion and

hold a hearing to resolve any disputes related to the proposed protocol. Special Master Garrie

will then issue an order with the final protocol.



IT IS SO ORDERED.



       October 21, 2021                                 ______________________________
                                                        Daniel Garrie
                                                        Discovery Special Master




                                                    5
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  EXHIBIT A
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                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
10

11
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12   PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC
13                                                  PLAINTIFFS’ MOTION TO COMPEL
     This document relates to:                      MARK ZUCKERBERG AND SHERYL
14                                                  SANDBERG AS DOCUMENT
     ALL ACTIONS                                    CUSTODIANS
15
                                                    Judge: Hon. Vince Chhabria
16                                                  Hon. Jacqueline Scott Corley
                                                    Special Master Daniel Garrie
17                                                  Courtroom: 4, 17th Floor
18                                                  JAMS Ref. No.: 1200058674
19                                                  ORAL ARGUMENT REQUESTED
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 1   I.     PLAINTIFFS’ SEPARATE STATEMENT
 2          Pursuant to ¶ 6 of the Protocol for Resolving Discovery Disputes—Order No. 1, Dkt. No.
 3   733, Plaintiffs’ Separate Statement Regarding Mark Zuckerberg and Sheryl Sandberg as
 4   Document Custodians is provided at Attachment A.
 5   II.    INTRODUCTION
 6          Mark Zuckerberg (Facebook’s Chairman, Chief Executive Officer, and controlling
 7   stakeholder) and Sheryl Sandberg (Facebook’s Chief Operating Officer and a director) shaped
 8   Facebook’s business decisions regarding the ways Facebook shared user information with and
 9   collected user information from third parties, devised and executed the plan for monetizing user
10   information, and led the internal and external response to the Cambridge Analytica scandal. They
11   each currently play and have played key roles as the public face of Facebook in response to
12   repeated crises about privacy violations that are at the heart of Plaintiffs’ allegations. Thus, they
13   possess unique and critical information directly relevant to Plaintiffs’ claims and Facebook’s
14   defenses. Under Federal Rule of Civil Procedure 26, they are proper custodians and their relevant
15   custodial files should be produced.
16          Facebook does not contest that Zuckerberg’s and Sandberg’s custodial files contain
17   relevant information. Nor could they credibly do so. Zuckerberg crafted the design of the open
18   platform, through which Facebook first made users’ content and information available to third
19   party developers. He led the “Platform Simplification” transition in response to the FTC’s 2012
20   Consent Order, whereby Facebook determined it would restrict the sharing of some aspects of
21   user content and information, but would “whitelist” certain business partners and developers that
22   reciprocated by providing content and information back to Facebook. The evidence shows that
23   Zuckerberg was in the weeds, participating in decisions
24

25                         . And Zuckerberg initiated the ADI, Facebook’s response to the Cambridge
26   Analytica scandal that resulted in the suspension of tens of thousands of other apps. He, thus, has
27   detailed, specific and unique knowledge about critical facts in this case.
28
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 1           Sandberg also is directly involved in issues at the core of the case. She led Facebook’s
 2   effort to monetize user data by making it available to developers and advertisers. She made
 3   numerous public statements about the importance of user privacy. And she was at the forefront of
 4   Facebook’s response to the Cambridge Analytica scandal, sending internal emails
 5

 6                  .
 7           It is Plaintiffs’ understanding that Facebook does not refuse to ever search Zuckerberg’s
 8   and Sandberg’s custodial files, but rather objects to doing so now, for two reasons. First,
 9   Facebook has raised the “apex doctrine.” That doctrine, however, is inapt. The doctrine does not
10   apply to whether high-ranking executives should be added as document custodians. Even if the
11   doctrine were applicable, it would not shield Zuckerberg and Sandberg because of their direct
12   involvement and unique knowledge regarding key events and facts at issue in this case. See Order
13   Following April 14, 2021 Discovery Conference, In re Juul Labs, Inc., Mktg. Sales Practices, No.
14   19-md-02913-WHO (JSC) (N.D. Cal.), Dkt. No. 1704 (ordering deposition of Altria CEO), Ex.
15   1.1 Second, Facebook has said Plaintiffs should wait. But Judge Chhabria has ordered substantial
16   completion of document production in four months, and the parties continue to be at loggerheads
17   regarding numerous core aspects of production (including, for example, the definition of
18   relevance, the production of Plaintiffs’ data and non-custodial ESI, and other issues not yet
19   briefed to the Special Master). Delaying resolution of this issue will make meeting the substantial
20   completion deadline all-but-impossible. In the end, this is likely Facebook’s goal. If it is able to
21   delay this issue long enough, it will run out the clock, preventing Plaintiffs from timely securing
22   relevant custodial documents. But given their intimate involvement in the issues giving rise to
23   Plaintiffs’ allegations, it is already past time Zuckerberg and Sandberg were added as custodians
24   and their relevant custodial files produced.
25   III.    RELEVANT BACKGROUND
26           On February 21, 2020, in their first communication to Facebook about the custodians
27   1
      Unless specified otherwise, all exhibit citations refer to the Declaration of Lesley Weaver filed
28   herewith.
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 1   whose files should be collected, reviewed, and produced, Plaintiffs identified Zuckerberg and
 2   Sandberg. Ex. 2 at 5-6. The parties ultimately agreed on a set of 72 initial custodians, and the
 3   Court ordered the addition of nine others on May 15, 2020. Dkt No. 436, Ex. 3.
 4          On November 2020, Plaintiffs again requested that Facebook add Zuckerberg and
 5   Sandberg as document custodians. Plaintiffs raised the issue to Judge Corley, who ordered that
 6   the “addition of further custodians for discovery purposes is premature at this time.” Dkt. No.
 7   588, Ex. 4 at 2.
 8          On July 19, 2021, Judge Chhabria issued an Order Setting Case Schedule, with
 9   depositions set to begin on November 1, 2021 and document production to be substantially
10   completed by January 2022. Dkt. No. 706, Ex. 5. Thus, there is now less than four months
11   remaining for Facebook to complete production from the agreed custodians, non-custodial
12   sources, and new custodians, such as Zuckerberg and Sandberg.
13   IV.    LEGAL STANDARD
14          A party “may obtain discovery regarding any nonprivileged matter that is relevant to any
15   party’s claim or defense and proportional to the needs of the case[.]” Fed. R. Civ. P. 26(b)(1). In
16   determining whether discovery is “proportional to the needs of the case,” a Court must assess “the
17   importance of the issues at stake in the action, the amount in controversy, the parties’ relative
18   access to relevant information, the parties’ resources, the importance of the discovery in resolving
19   the issues, and whether the burden or expense of the proposed discovery outweighs its likely
20   benefit.” Id. This assessment applies to whether to add a document custodian. Oracle Am., Inc. v.
21   Google Inc., No. 10-CV-03561-WHA-DMR, 2015 WL 7775243, at *2 (N.D. Cal. Dec. 3, 2015).
22   V.     ARGUMENT
23          A.      Mark Zuckerberg and Sheryl Sandberg Possess Relevant Information
24          Zuckerberg and Sandberg possess unique information that is core to the claims at issue.
25   As head of global policy management Monica Bickert publicly stated: “With anything that is very
26   big that a lot of people are talking about, we will absolutely loop them in . . . . Any time that
27   we’re dealing with something that is close to the line or it’s something where it’s not really clear
28
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 1   how the policies apply or it’s something that’s particularly important, we will, at the very least,
 2   send an email up to Mark and Sheryl so that they know what’s going on[.]” Sissi Cao, Inside
 3   Facebook: What’s It Really Like to Work With Zuckerberg, Sandberg?, Observer (Sept. 10,
 4   2019), https://observer.com/2019/09/facebook-execs-reveal-working-with-mark-zuckerberg-
 5   sheryl-sandberg/, Ex. 6. She continued: “Very often, we will end up having a back-and-forth with
 6   them about why we’re making the decision we’re making, and make sure they’re OK with it.” Id.
 7   Evidence gathered to date from Facebook and public sources shows that Zuckerberg and
 8   Sandberg drove the decisions that gave rise to Plaintiffs’ allegations.
 9          Courts regularly add high-ranking executives as custodians where their files are likely to
10   contain relevant information. This is particularly true where, as here, the executive is intimately
11   involved in the business decisions at issue in the litigation. In Shenwick v. Twitter, for example,
12   the Court ordered Twitter CEO Jack Dorsey be added as a document custodian given his
13   involvement as Chair and CEO during the relevant class period, and because he—like Zuckerberg
14   and Sandberg with respect to the Cambridge Analytica scandal—was the person who “came
15   clean” to the public about the true state of affairs of Twitter’s user metrics. No. 16-CV-05314-JST
16   (SK), 2018 WL 833085, at *1 (N.D. Cal. Feb. 7, 2018). Other courts have done the same. See,
17   e.g., In re Envision Healthcare Corp. Sec. Litig., No. 3:17-CV-01112, 2020 WL 6750397, at *4
18   (M.D. Tenn. Nov. 16, 2020) (adding senior executives as custodians where they were likely to
19   possess relevant information); In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices
20   and Antitrust Litig., No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *3-4 (D. Kan. Mar. 15,
21   2018) (adding two former CEOs as custodians who were “actively involved,” provided
22   “guidance,” and were part of the team making decisions regarding the defendant’s operations);
23   MariCal, Inc. v. Cooke Aquaculture, Inc., No. 1:14-CV-00366-JDL, 2016 WL 9459260, at *2 (D.
24   Me. Aug. 9, 2016) (adding the CEO as a custodian because he “likely was involved in
25   discussions” regarding the patents at issue).
26          Zuckerberg and Sandberg were intimately involved in Facebook’s conduct at issue in this
27   litigation and should be added as document custodians.
28
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                     1.      As the Key Decision Maker on Issues Related to User
 1                           Privacy, Zuckerberg’s Documents Are Uniquely Relevant to
                             Plaintiffs’ Claims
 2
            News articles and produced documents offer glimpses of Zuckerberg’s core role in the
 3
     issues central to this litigation: privacy, consent, friend sharing, whitelisting, business partner
 4
     access, and enforcement. His custodial files, including emails sent and received, are certain to be
 5
     probative of Plaintiffs’ claims.
 6
            For example, Zuckerberg decided whether to enforce Facebook’s policies against apps
 7
     taking users data. According to former Platform Operations Manager Sandy Parakilas, who led
 8
     privacy and policy compliance in 2011-12, “any decision to ban an app” for violating Facebook’s
 9
     policies related to user information “required the personal approval of the chief executive.” Paul
10
     Lewis, ‘Utterly horrifying’: ex-Facebook insider says covert data harvesting was routine, The
11
     Guardian (Mar. 20, 2018) https://www.theguardian.com/news/2018/mar/20/facebook-data-
12
     cambridge-analytica-sandy-parakilas, Ex. 7.
13
            Internal documents demonstrate other instances of Zuckerberg’s day to day involvement.
14
     For instance, Zuckerberg
15
                          . See FB-CA-MDL-00185348, Ex. 8 at 5348                                          .
16
     Zuckerberg also
17
                                                                         . FB-CA-MDL-00172723, Ex. 9
18
     at 2723-2729.
19
            Zuckerberg was also
20

21

22

23
                               FB-CA-MDL-00174292, Ex. 10 at 4293. His decision enabled Facebook
24
     to build substantially more robust user profiles.
25
            More generally, Zuckerberg
26

27

28
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 1

 2                                  FB-CA-MDL-00183209, Ex. 11 at 3210. The same month,
 3

 4                      FB-CA-MDL-01681584, Ex. 12 at 1584.
 5

 6                                       Id.
 7          Later internal documents show that Zuckerberg played a major role in Facebook’s
 8   investigation and response to the 2018 Cambridge Analytica scandal—
 9               . In
10

11           . FB-CA-MDL-01136583, Ex. 13 at 6588-6589. On March 21, 2018, Zuckerberg
12   “share[d] an update on the Cambridge Analytica situation.”
13   https://www.facebook.com/zuck/posts/10104712037900071, Ex. 14. He proclaimed Facebook’s
14   duty to protect users’ data from misuse by third-party developers, which is at the heart of this
15   case: “We have a responsibility to protect your data, and if we can’t then we don’t deserve to
16   serve you.” Id. He also announced that Facebook “will investigate all apps that had access to
17   large amounts of information before we changed our platform” in 2014, “will ban any developer
18   from our platform that does not agree to a thorough audit,” and banning “developers that misused
19   personally identifiable information[.]” Id. This statement initiated the App Developer
20   Investigation. Notably, Judge Corley recently ordered production of documents from the ADI,
21   relying heavily on Zuckerberg’s public statements in her order. Dkt. No. 736, Ex. 15.
22          Zuckerberg’s role in Facebook’s response to Cambridge Analytica was widely publicized.
23   The Wall Street Journal has reported that Zuckerberg “in 2018 took on the role of a wartime
24   leader who needed to act quickly and, sometimes, unilaterally.” Deepa Seetharaman and Emily
25   Glazer, Mark Zuckerberg Asserts Control of Facebook, Pushing Aside Dissenters, The Wall
26   Street Journal (Apr. 28, 2020) https://www.wsj.com/articles/mark-zuckerberg-asserts-control-of-
27   facebook-pushing-aside-dissenters-11588106984, Ex. 16. Other reporting confirmed that in the
28
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 1   immediate aftermath Zuckerberg and Sandberg took charge of communications: Zuckerberg
 2   “ordered staff to shut down external communications until he had a grasp of the situation [and]
 3   directed Sandberg and the legal and security teams to scour emails, memos, and messages among
 4   Facebook employees, Kogan, and Cambridge Analytica . . . .” Sheera Frenkel and Cecilia Kang,
 5   An Ugly Truth, at 155 (Harper Collins 2021). The actions consolidated in this MDL initially arose
 6   out of the Cambridge Analytica scandal; documents relating to Zuckerberg’s leadership of and
 7   involvement in Facebook’s response are highly relevant to Plaintiffs’ claims.
 8          Finally, Zuckerberg personally made numerous public commitments about Facebook’s
 9   privacy practices that go directly to the heart of the claims and defenses in this case. For example:
10   in a 2010 interview, he stated that “applications have to ask for permission for anything you’ve
11   set to be private”; in a November 2011 post, he explained that “everyone needs complete control
12   over who they share with [via Facebook] at all times”; he told shareholders that “giving people
13   control over what they share is a fundamental principle” of the social graph; and he promised
14   users Facebook had created “the kind of privacy that no one had ever seen before.” See Anita
15   Balakrishnan et al., Mark Zuckerberg has been talking about privacy for 15 years—here’s almost
16   everything he’s said, CNBC (Apr. 9, 2018), https://www.cnbc.com/2018/03/21/facebook-ceo-
17   mark-zuckerbergs-statements-on-privacy-2003-2018.html, Ex. 17.
18          Zuckerberg’s documents will shed light on the consistency, or lack thereof, of Facebook’s
19   external representations with its internal practices. He knows what Facebook says and what
20   Facebook does, and his files will shed light on Facebook’s knowledge and intent in relation to its
21   representations. Facebook’s misrepresentations, and Zuckerberg’s knowledge are central to
22   Plaintiffs’ privacy, contract, and negligence claims, as well as the punitive damages.
23                  2.      Sandberg’s Documents Are Critical as She Oversees Facebook’s
24                          Monetization of User Data and Facebook’s Messaging Regarding User
                            Data Misuse
25          Around the same time Zuckerberg was exploring ways to ensure that users perceived
26   Facebook as protective of their information while transitioning to a platform that allowed all app
27   developers to access users’ and friends’ information, he hired Sandberg to figure out how to
28
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 1   monetize the content and information Facebook collected. In a 2009 article, Zuckerberg is quoted
 2   as explaining that “‘[Sandberg] handles monetization and works on different efforts with the ad
 3   products; I spend more time on product and technical strategy.’” Facebook’s Sheryl Sandberg,
 4   Forbes (Aug. 20, 2009) https://www.forbes.com/forbes/2009/0907/power-women-09-facebook-
 5   sheryl-sandberg.html?sh=5f37159f3873, Ex. 18. As the article explained, Zuckerberg’s “efforts to
 6   exploit user information provoked outrage among members, who felt their privacy was being
 7   violated. . . . This is where Sandberg comes in—helping to put a more palatable façade on the
 8   touchy business of selling user data.” Id.
 9          As former FTC technologist Ashkan Soltani testified before the U.K. Parliament,
10   Facebook’s business model and priority is the “monetization of data” and “[Sandberg] is the one
11   who makes the monetisation calls and makes the priorities[.]” Ashkan Soltani Testimony to U.K.
12   House of Commons Digital, Culture, Media and Sport Committee (Nov. 27, 2018)
13   http://data.parliament.uk/writtenevidence/committeeevidence.svc/evidencedocument/digital-
14   culture-media-and-sport-committee/disinformation-and-fake-news/oral/92924.html, Ex. 19.
15   Soltani further testified that “[Sandberg] is who I would want to see [testify] on these business
16   decisions, and specifically on the monetisations and the decisions of what to prioritise.” Id. at
17   Q4348. To state the obvious, the “touchy business of selling user data” is also at the heart of this
18   case. Users did not consent to the selling and unauthorized disclosure of their content and
19   information.
20          Sandberg will also have unique information about Facebook’s decision to exempt certain
21   developers and strategic partners from its implementing restrictions on third parties’ access to
22   users’ private information. Facebook accomplished this through a process called “whitelisting”
23   after it told users that Facebook would cut off such access. See, e.g. FB-CA-MDL-00183225,
24   Ex. 20 at 3225                                                                             . For
25   example,
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 1                                                                        , Ex. 21 at 6-7.
 2

 3                                                            Id. at 2.
 4          In addition, Sandberg will have information about Facebook’s violation of its duty to take
 5   reasonable steps to protect users’ information. For instance,
 6

 7

 8

 9   FB-CA-MDL-00161290, Ex. 22 at 1291.
10                                                                                                Id.
11

12

13                                                                            Id.
14

15

16                                  Id. at 1290.
17                                                                                                      See
18   also FB-CA-MDL-00165325, Ex. 23 at 5326
19

20              .
21          Moreover, Sandberg’s documents will shed considerable additional light on the
22   Cambridge Analytica scandal. Indeed,
23

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 1

 2

 3                                                FB-CA-MDL-01184406, Ex. 24 at 1045. Documents
 4   from Sandberg’s custodial files
 5           should be produced given their relevance to Plaintiffs’ claims.
 6          Sandberg’s core involvement in Facebook’s response to the Cambridge Analytica scandal
 7                                                                       . Shortly after the scandal
 8   became public,
 9

10                                          FB-CA-MDL-01191045, Ex. 25 at Slide 1.
11

12

13

14                                                                        Id. at Slides 4-5.
15

16                                                    Id. at Slide 6.
17          Like Zuckerberg, Sandberg was personally involved in crafting and delivering Facebook’s
18   message about users’ privacy and their ability to control access to their content and information
19   on Facebook. She stated publicly that users’ “trust is sacred, that privacy is the most important
20   thing we do,” and that Facebook is “the most privacy-focused place for anyone to share
21   anything.” Erick Schonfeld, Zuckerberg Talks to Charlie Rose About Steve Jobs, IPOs, And
22   Google’s “Little Version of Facebook”, TechCrunch (Nov. 7, 2011)
23   https://techcrunch.com/2011/11/07/zuckerberg-talks-to-charlie-rose-about-war-ipos-and-googles-
24   little-version-of-facebook/, Ex. 26.
25                                          See FB-CA-MDL-01815330, Ex. 27 at 5330
26

27           ; FB-CA-MDL-01681668, Ex. 28 at 1670
28
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 1

 2

 3                  ; FB-CA-MDL-01152648, Ex. 29 at 2648-2649
 4                                                   .
 5             Given Sandberg led Facebook’s efforts to monetize users’ information while at the same
 6   time shaping Facebook’s public façade of respecting users’ privacy, her custodial files are all but
 7   certain to contain core information relevant Plaintiffs’ claims.
 8             B.     Adding Mark Zuckerberg and Sheryl Sandberg as Document Custodians Is
 9                    Proportional to the Needs of the Case and Will Not Cause Undue Burden
               Facebook cannot credibly claim that collecting, searching and producing Zuckerberg and
10
     Sandberg custodian files would be unduly burdensome, duplicative or disproportionate to the
11
     needs of the case. Their texts, chats, and ephemeral communications should have been preserved,
12
     as Plaintiffs discussed with Facebook in 2018 in the first 26(f) meet and confer.
13
               Rule 26(b)(1) requires consideration of the following factors as part of the proportionality
14
     analysis: “the importance of the issues at stake in the action, the amount in controversy, the
15
     parties’ relative access to relevant information, the parties’ resources, the importance of the
16
     discovery in resolving the issues, and whether the burden or expense of the proposed discovery
17
     outweighs its likely benefit.” Each of these factors weigh in Plaintiffs’ favor.
18
               First, the issues at stake are of paramount importance. This case concerns a proposed class
19
     period of over 13 years, affecting millions of Facebook users, concerning Facebook’s core
20
     promise to its users—that users control who can see their information. More acutely, the case
21
     concerns the revelation that Facebook did nothing to prevent the user data it shared with third
22
     parties from being misused, and that a few hundred thousand users could unknowingly expose the
23
     content and information of more than 80 million users to a developer who sold the data collection
24
     to a political advertising outfit that targeted users with voter-suppression messaging and may have
25
     swung a U.S. presidential election. The stakes are high.
26
               Second, Facebook has control of Zuckerberg’s and Sandberg’s custodial files. Plaintiffs
27
     do not.
28
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 1             Third, Facebook has nearly unparalleled resources. For 2020, it reported revenues of $86
 2   billion and cash, cash equivalents, and marketable securities of $61.95 billion in 2020.
 3             Fourth, discovery from Zuckerberg and Sandberg will substantially advance the resolution
 4   of this case. The evidence shows that they have documents uniquely relevant to the intentional
 5   creation of the perception that Facebook was and is committed to privacy and user control, as
 6   well as the reality of how users’ content and information was shared and monetized. Zuckerberg
 7   and Sandberg also have unique knowledge of the way Facebook responded to the investigations
 8   and outcomes of the FTC investigations that led to the 2012 and 2019 Consent Decrees, the
 9   Cambridge Analytica scandal, the revelation of Facebook’s business partnerships, and other
10   issues.
11             Fifth, the benefit of this discovery far outweighs its burden. As set forth above,
12   Zuckerberg and Sandberg possess information that goes to the very heart of Plaintiffs’ claims. No
13   one else is better able to discuss the user content and information Facebook made available and
14   monetized, the privacy promises it made, and what happened with Cambridge Analytica.
15   Plaintiffs only seek the collection, review, and production of two critical custodial files. Facebook
16   has already collected, reviewed, and is producing the files of 81 custodians. As Judge Chhabria
17   instructed, this is not the kind of case where it is enough to assert that adding Zuckerberg and
18   Sandberg as custodians will be expensive or overly burdensome. Tr. of the Mar. 5, 2020 Case
19   Mgmt. Conference, Ex. 30 at 29:3-12. The burdens are substantially outweighed by the benefits.
20             C.     Given the Case Schedule, Facebook Should Commence with Searching These
21                    Custodial Files
               Facebook does not contest that Zuckerberg and Sandberg possess relevant information,
22
     and do not necessarily contest that they should be added as document custodians in this litigation.
23
     Rather, Facebook argues that Plaintiffs’ request (and this impasse) is premature. Plaintiffs
24
     disagree for three reasons.
25
               First, the production of documents from existing custodians does not eliminate the need
26
     for the addition of Zuckerberg and Sandberg, as the latter likely contain unique communications
27
     directly relevant to the case. See e.g. Ex. 9 at 2723, Ex. 23 at 5326, and Ex. 29 at 2652. Their
28
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 1   communications should not be shielded merely because a search of their documents did not take
 2   place with other custodians. Thus, the completion of document production from existing
 3   custodians will not obviate the need to include Zuckerberg’s and Sandberg’s custodial files in this
 4   action. Regardless, Facebook recently told the Special Master that its custodial production was
 5   almost complete. As it wrote in its opposition to Plaintiffs’ motion regarding TAR, “Facebook
 6   has now completed the majority of its review process.” Facebook’s Opp. to Mot. To Compel
 7   TAR at 10. Thus, the time is ripe.
 8          Second, adding Zuckerberg and Sandberg as document custodians now should allow
 9   Facebook to collect, search, review and produce documents from their custodial files in time to
10   meet the January 31, 2022 deadline for substantial completion of document production. Since
11   custodial document production commenced in December 2020, Facebook’s production has
12   averaged fewer than 10,000 documents per month. Given the glacial pace of Facebook’s
13   production, this dispute should be resolved now.
14          Third, Facebook should not benefit from its glacial pace of production by tying
15   completion of production from existing custodians to the addition of new custodians. Plaintiffs
16   have no reason to believe Facebook will ever consent to the addition of Zuckerberg’s and
17   Sandberg’s custodial files. Facebook should not be permitted to run out the clock by promising to
18   consider at a later date what it should be compelled to do now.
19          D.      The Apex Doctrine Does Not Apply
20          Facebook has also raised the “apex doctrine” as a reason to hold off on or refuse
21   production of Zuckerberg’s and Sandberg’s custodial files, but it is inapt. The apex doctrine does
22   not apply to this dispute, which concerns whether senior executives Zuckerberg and Sandberg
23   should be added as document custodians. See e.g. Alta Devices, Inc. v. LG Elecs., Inc., No. 18-cv-
24   00404-LHK-VKD, 2019 WL 8757255, at *1 (N.D. Cal. Feb. 20, 2019) (disagreeing “that simply
25   because a prospective custodian happens to be a senior executive, such custodian is not subject to
26   collection of responsive ESI.”); Blankenship v. Fox News Network, LLC, No. 2:19-CV-00236,
27   2021 WL 2345972, at *3, n. 5 (S.D.W. Va. June 8, 2021) (the apex doctrine “typically applies
28
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 1   only to protect senior executives from attending costly and distracting depositions rather than
 2   from merely collecting and producing documents.”) (citation omitted); Rosinbaum v. Flowers
 3   Foods, Inc., 238 F. Supp. 3d 738, 749 (E.D.N.C. 2017) (“In no case of which the court is aware
 4   has the apex doctrine successfully been invoked to shield an executive from a request for
 5   production of documents.”) (citation omitted); Dyson, Inc. v. Sharkninja Operating LLC, No.
 6   1:14-CV-0779, 2016 WL 1613489, at *1 (N.D. Ill. Apr. 22, 2016) (declining to apply the apex
 7   doctrine to quash a request for production of documents). In any event, Zuckerberg and Sandberg
 8   clearly meet the standard. Judge Corley explained earlier this year that “usually when [the Apex
 9   Doctrine is] employed, it’s because you will have an employment discrimination case and the
10   plaintiff’s lawyer wants to take the CEO or something where they are not involved at all.” Tr. of
11   Apr. 14, 2021 Discovery Conference at 6:22-7:1, In re Juul Labs, Inc., Mktg. Sales Practices,
12   Ex. 31. It does not apply where the person “was involved” in the conduct at issue in a “big”
13   MDL. Id. at 7:2-3.
14   VI.     CONCLUSION
15           Mark Zuckerberg and Sheryl Sandberg possess unique and critical information relevant to
16   this action. Facebook should be ordered to add them as custodians and produce their relevant
17   custodial files.
18

19
      Dated: September 22, 2021                            Respectfully submitted,
20
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   EXHIBIT B
                      Case 3:18-md-02843-VC Document 753 Filed 11/14/21 Page 31 of 67


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           11

           12                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           13                                       SAN FRANCISCO DIVISION

           14

           15
                   IN RE: FACEBOOK, INC. CONSUMER                CASE NO. 3:18-MD-02843-VC
           16      PRIVACY USER PROFILE LITIGATION,
                                                                 FACEBOOK’S OPPOSITION TO
           17      This document relates to:                     PLAINTIFFS’ MOTION TO COMPEL
                                                                 MARK ZUCKERBERG AND SHERYL
           18      ALL ACTIONS                                   SANDBERG AS DOCUMENT
                                                                 CUSTODIANS
           19
                                                                 Discovery Special Master: Daniel Garrie, Esq.
           20

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Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
Crutcher LLP
                                                    DOCUMENT CUSTODIANS
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                                 Zuckerberg and Ms. Sandberg at this stage of discovery.                             4
               6
                                 1.     Plaintiffs must show that Mr. Zuckerberg and Ms. Sandberg possess
               7                        relevant and unique information unlikely to be found in the files of the
                                        81 existing custodians.                                                     5
               8
                                 2.     Plaintiffs fail to show that Mr. Zuckerberg and Ms. Sandberg are likely
               9                        to possess information that is both unique and relevant.                    8
           10                           a.      Facebook has been more than reasonably diligent in searching for
                                                relevant, responsive documents.                                     8
           11
                                        b.      Plaintiffs do not show that Zuckerberg and Sandberg are likely to
           12                                   have documents that fill substantial gaps in Facebook’s
                                                comprehensive document production.                                  9
           13
                           B.    Following the Court-ordered document production process will not delay completion
           14                    of discovery.                                                                   14
           15      IV.     CONCLUSION                                                                               15
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Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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           18         No. 4:14-cv-00183-RLW, 2015 WL 430196 (E.D. Mo. Feb. 2, 2015) ............................................6
           19      MariCal, Inc. v. Cooke Aquaculture, Inc.,
                     No. 1:14-cv-00366-JDL, 2016 WL 9459260 (D. Me. Aug. 9, 2016) ...............................................7
           20
                   Mortgage Resolution Servicing, LLC v. JPMorgan Chase Bank, N.A.,
           21        No. 15 Civ. 0293 (LTS) (JCF), 2017 WL 2305398 (S.D.N.Y. May 18, 2017) ................................5
           22      Shenwick v. Twitter
                      No. 16-CV-05314-JST (SK), 2018 WL 833085 (N.D. Cal. Feb 7, 2018) ....................................7, 8
           23
                   RULES
           24
                   Fed. R. Civ. P. 26(b) ...............................................................................................................................6
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                   Fed. R. Civ. P. 26(c)(1) ...........................................................................................................................6
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                                                                                            ii
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
Crutcher LLP
                                                    DOCUMENT CUSTODIANS
                                                   CASE NO. 3:18-MD-02843-VC
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               1                                         I.      INTRODUCTION
               2          More than eighteen months into Facebook’s rolling document production—which so far has

               3   included more than 500,000 documents from the files of 81 custodians and various non-custodial

               4   sources—Plaintiffs attempt to open a new front in discovery by moving to compel designation of

               5   Facebook’s Chief Executive Officer, Mark Zuckerberg, and Chief Operating Officer, Sheryl Sandberg,

               6   as document custodians.      Mr. Zuckerberg and Ms. Sandberg are the two pinnacle executives

               7   responsible for operating a global company serving nearly 3 billion Facebook users. Plaintiffs’ motion

               8   does not satisfy the essential prerequisites for a request to compel Facebook to add two new document

               9   custodians.

           10             As Sedona Principle 6 codifies and district courts across the country have recognized, where a

           11      requesting party seeks to compel modification of a producing party’s strategy for conducting a

           12      reasonably diligent collection of documents and ESI—including its selection of custodians—the

           13      requesting party must demonstrate both that the additional custodians are likely to possess relevant

           14      documents and also that those documents are likely to be unique and unavailable from other sources.

           15      Plaintiffs devote most of their motion to arguing that Mr. Zuckerberg and Ms. Sandberg are likely to

           16      possess relevant documents. But they make no serious effort to show that any such documents are

           17      unlikely to be captured by the current, broad scope of Facebook’s collection and production.

           18             Plaintiffs cannot possibly make that showing. Facebook has collected documents and data

           19      from—in addition to various non-custodial sources—81 custodians and run more than 140 search

           20      strings against those custodial documents. And it is not just that Facebook is collecting millions of

           21      documents from dozens of custodians—those 81 custodians include numerous high-ranking executives

           22      and managers who report directly to and work closely with Mr. Zuckerberg and Ms. Sandberg. Given

           23      the identities of those custodians and the nature of their roles inside the company, there is no reason to

           24      expect that Facebook’s production from their files has gaps that must be filled by adding Mr.

           25      Zuckerberg and Ms. Sandberg as custodians. Just the opposite, in fact: the myriad documents Plaintiffs

           26      cite in their motion underscore the extent to which the documents that have already been produced

           27      from the 81 existing custodians are more than adequate to capture a full range of responsive materials.

           28             Tellingly, Plaintiffs do not argue that they have identified any gaps or deficiencies in the
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               1   documents Facebook has produced to date. To the contrary, the Facebook documents Plaintiffs rely
               2   on demonstrate that, as expected for the apex leaders of one of the world’s largest public companies,
               3   Mr. Zuckerberg and Ms. Sandberg provide high-level guidance and final approvals and rely on others
               4   (teams of other senior executives, managers, and engineers) to implement the policies they approve.
               5   81 of those executives, managers, and engineers are already custodians. Facebook’s productions from
               6   their files plus various non-custodial sources, is more than sufficient to constitute a reasonably diligent
               7   search for relevant documents.
               8          Plaintiffs’ argument that Facebook is “running out the clock” on producing documents from
               9   Mr. Zuckerberg and Ms. Sandberg assumes the point at issue—that Mr. Zuckerberg and Ms. Sandberg
           10      should be added as custodians. In reality, there is no need to search or collect from their custodial
           11      files—and certainly not with the overbroad scope of collection Plaintiffs demand. In any event, time
           12      is not nearly as short as Plaintiffs suggest. Discovery does not close until June 2022, and Facebook is
           13      on pace to meet the January 31, 2022 substantial completion deadline. So Plaintiffs will have five
           14      months to review Facebook’s production and identify any gaps that could justify a “very targeted” (Ex.
           15      3 at 48:11) collection from Mr. Zuckerberg’s and Ms. Sandberg’s files.
           16                                    II.     PROCEDURAL BACKGROUND
           17             Plaintiffs sought to compel the designation of Mr. Zuckerberg and Ms. Sandberg as document
           18      custodians on three occasions before the present motion, and each time Judge Corley correctly denied
           19      those requests. See Facebook’s Sep. State. Judge Corley first rejected Plaintiffs’ request to add Mr.
           20      Zuckerberg and Ms. Sandberg as custodians at a May 1, 2020 hearing. Plaintiffs argued that they
           21      would be “seeking to have CEO Mark Zuckerberg and COO Sheryl Sandberg on a custodial list,
           22      particularly in this case where they have been so involved in making public statements and promises
           23      about what Facebook is doing to protect privacy.” Swanson Decl., Ex. 1 at 33:11-18. Judge Corley
           24      denied their request, stating “[t]hat seems a dispute that’s premature because . . . there [are] reams and
           25      reams and reams of unresponsive things.” Id. at 34:2-5.
           26             On May 15, 2020, Plaintiffs again requested to add Mr. Zuckerberg and Ms. Sandberg as
           27      custodians, stating “we . . . think that they are integral to this” and pointing to an email in which “Mr.
           28      Zuckerberg is e-mailing directly with one of these custodians.” Id., Ex. 2 at 13:10-16. Judge Corley
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               1   again rejected the request, instructing Plaintiffs to “wait.” Id. at 13:18. That same day Judge Corley
               2   followed up with an order instructing Facebook to search the custodial files of 81 custodians. Dkt. 436.
               3   Facebook’s 81 custodians include C-level senior executives including its Chief Privacy Officer and
               4   Chief Product Officer, as well as the Chief Operating Officer of Instagram who also serves as
               5   Facebook’s Vice President of Global Operations, more than twenty Vice Presidents, twenty-two
               6   Directors, and six department heads among others. These custodians were involved in third party data
               7   access issues, third party enforcement, Facebook’s response to the Cambridge Analytica events,
               8   platform and development issues, and user privacy.
               9            Plaintiffs raised the issue of adding Mr. Zuckerberg and Ms. Sandberg for a third time during a
           10      December 2020 status conference. Judge Corley again rejected their request, instructing them on the
           11      record to “wait until all the documents are produced” and adding that any collections from Mr.
           12      Zuckerberg and Ms. Sandberg “will be very targeted.” Swanson Decl., Ex. 3 (Dec. 9, 2020 Hr’g Tr.)
           13      at 48:8-11. Afterwards, Judge Corley entered an order that “memorializes the decisions made at the
           14      hearing.” Dkt. 588 at 1:10-11. As to Plaintiffs’ request for “[a]dditional [p]roposed [c]ustodians,” the
           15      order recounts Judge Corley’s ruling during the status conference that “[t]he addition of further
           16      custodians for discovery purposes is premature at this time.” Id. ¶ E. Under this ruling, which is
           17      consistent with Sedona Principle 6 discussed below, if any documents need to be collected from Mr.
           18      Zuckerberg and Ms. Sandberg and reviewed for potential production, it will be only after Facebook
           19      substantially completes its document production, and only for the limited purpose of filling any
           20      specific, narrow gaps Plaintiffs identify in Facebook’s productions.
           21               Plaintiffs then inserted their demand to designate Mr. Zuckerberg and Ms. Sandberg as
           22      document custodians into their list of issues for discovery mediation in July 2021. Facebook’s Sep.
           23      State.    Plaintiffs’ mediation demands bore no resemblance to the “very targeted” discovery
           24      contemplated by the Court. Instead, Plaintiffs insisted that addition of Mr. Zuckerberg and Ms.
           25      Sandberg as custodians “[c]oncerns substantially all of Plaintiffs’ Requests for Production,” listing 34
           26      RFPs as being related to Mr. Zuckerberg and Ms. Sandberg. Swanson Decl., Ex. 4 (emphasis added).
           27

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                                                                       3
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               1                                             III.    ARGUMENT
               2           Nothing has changed since the last time Judge Corley denied Plaintiffs’ request to add Mr.

               3   Zuckerberg and Ms. Sandberg as custodians. The case law makes clear that a producing party can be

               4   compelled to add additional custodians to an already-reasonable collection effort only if the requesting

               5   party establishes that the new custodians are likely possess information that is both relevant and unique.

               6   That approach makes sense—especially in the context of apex custodians, where the burden of

               7   collection, the cumulative nature of their files, and the risk of harassment are elevated. After all, if the

               8   information is not unique—if there is no gap in the existing production—the request is unreasonably

               9   cumulative and duplicative and therefore improper under Rule 26(b). Judge Corley recognized as much

           10      when she instructed that a “very targeted” collection was the outer limit of what might be appropriate

           11      from Mr. Zuckerberg and Ms. Sandberg. And Plaintiffs’ motion fails to make the showing required

           12      to justify even a very targeted collection. Their motion identifies no gap in Facebook’s production that

           13      could only be filled by documents from Mr. Zuckerberg and Ms. Sandberg’s files. Given the breadth

           14      (81 custodians plus various non-custodial sources), depth (more than 140 search strings), and quality

           15      (numerous custodians who work closely with Mr. Zuckerberg and Ms. Sandberg) of Facebook’s

           16      collection in this case, there is no reason to expect that any such gap exists.

           17       A.     Plaintiffs fail to demonstrate good cause for compelling designation of Mr. Zuckerberg
                           and Ms. Sandberg at this stage of discovery.
           18
                          Plaintiffs apply the wrong standard in their attempt to derail the current Court-approved
           19
                   collection, production, and review process and fail to carry their burden to meet the correct standard.
           20
                   According to Plaintiffs, the fact that a handful of produced documents purportedly show Mr.
           21
                   Zuckerberg and Ms. Sandberg’s involvement in issues related to this case is enough to justify sweeping,
           22
                   intrusive discovery of their files. This claim ignores that Facebook has produced hundreds of thousands
           23
                   of documents on the same issues from the files of 81 other custodians who had direct managerial and
           24
                   day-to-day involvement in the specific, long-defunct data-sharing practices at issue in this case. And
           25
                   Plaintiffs’ demand that Facebook search Mr. Zuckerberg’s and Ms. Sandberg’s files for documents
           26
                   responsive to at least 34 different RFPs (Swanson Decl., Ex. 4) is a far cry from the narrow, gap-filling
           27
                   potential discovery that Judge Corley ordered would be the limit of what might be permissible after
           28
                                                                        4
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               1
                   Facebook had completed its production from other sources.
               2
                      1.      Plaintiffs must show that Mr. Zuckerberg and Ms. Sandberg possess relevant and
               3              unique information unlikely to be found in the files of the 81 existing custodians.

               4           Facebook is entitled to deference in formulating its collection strategy, including in selecting

               5   custodians it deems most likely to possess responsive information, and it is Plaintiffs’ burden to

               6   demonstrate that Facebook’s selections are deficient. The Sedona Principles, 19 Sedona Conf. J. 1,

               7   Principle 6 (“Sedona Principle 6”), 118–124 (3d ed. 2018) (“A requesting party has the burden of

               8   proving a specific discovery deficiency in the responding party’s production.”); accord Hastings v.

               9   Ford Motor Co., No. 19-cv-2217-BAS-MDD, 2021 WL 1238870, at *3 (S.D. Cal. Apr. 2, 2021).

           10      Litigants are not required to examine every last document in their files to comply with their discovery

           11      obligations. Lauris v. Novartis AG, No. 116CV00393LJOSAB, 2016 WL 7178602, at *4 (E.D. Cal.

           12      Dec. 8, 2016). They simply must “conduct a diligent search” based on “a reasonably comprehensive

           13      search strategy.” Id. If Plaintiffs believe Facebook’s document search and production are deficient,

           14      they have the burden to demonstrate good cause for imposing additional requirements, especially

           15      where, as here, Plaintiffs’ demand would upset a carefully crafted, court-approved process. See

           16      Handloser v. HCL America, Inc., No. 19-cv-01242-LHK (VKD), 2020 WL 7405686, at *1–2 (N.D.

           17      Cal. Dec. 17, 2020); Sedona Principle 6 at 123–124.

           18              Good cause to compel designation of additional document custodians generally requires a

           19      showing that the disputed custodians possess uniquely relevant information that is not available from

           20      the sources already designated. See Handloser, 2020 WL 7405686, at *2 (refusing to order designation

           21      of additional custodians where plaintiffs failed to show why they “expect to discover information from

           22      these custodians that differs from discovery they have already obtained from the others”); Lauris v.

           23      Novartis AG, No. 1:16-cv-00393-LJO-SAB, 2016 WL 7178602, at *4 (E.D. Cal. Dec. 8, 2016)

           24      (denying motion to compel additional custodians where plaintiff failed to show “that the discovery plan

           25      proposed by Defendants would not produce responsive documents,” and requiring “more than mere

           26      speculation to order Defendants to include the apex custodians in its search protocol”). This good-cause

           27      requirement flows from the prescriptions in Rule 26 that discovery must be proportional to the needs

           28      of the case and that “the frequency or extent of discovery” must be limited if it is “is unreasonably

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               1
                   cumulative or duplicative, or can be obtained from some other source that is more convenient, less
               2
                   burdensome, or less expensive.” Fed. R. Civ. P. 26(b).
               3
                          Deference to the responding party’s document search strategy is especially important where the
               4
                   requesting party attempts to force apex personnel to participate in document discovery, given the much
               5
                   higher risk that the discovery is improperly sought “to annoy, embarrass, or oppress the person subject
               6
                   to the inquiry.” Hickman v. Taylor, 329 U.S. 495, 507–08 (1947); Fed. R. Civ. P. 26(c)(1). That risk
               7
                   is particularly acute in this case. Mr. Zuckerberg and Ms. Sandberg run one of the largest, most
               8
                   prominent companies in the world. Their responsibilities are enormous, and their time is precious.
               9
                   Designating them as custodians would trigger custodial interviews and the other burdens of document
           10
                   identification, search, and collection that impose on that time and trade off with their focus on running
           11
                   Facebook’s business, all in service of an impermissible fishing expedition. See Haggarty v. Wells
           12
                   Fargo Bank, N.A., No. 10-2416 CRB (JSC), 2012 WL 3939321, at *1 (N.D. Cal. Sept. 4, 2012)
           13
                   (“[D]iscovery may not be used as a fishing expedition.”) (cleaned up).
           14
                          Judge Corley’s decisions to deny Plaintiffs’ repeated demands to designate Mr. Zuckerberg and
           15
                   Ms. Sandberg as custodians show that the Court appreciates and respects these considerations. Other
           16
                   courts, too, have refused to make apex personnel custodians in the absence of a showing that they
           17
                   possess relevant documents that cannot be obtained from other sources. See, e.g., Lutzeier v. Citigroup
           18
                   Inc., No. 4:14-cv-00183-RLW, 2015 WL 430196, at *6–7 (E.D. Mo. Feb. 2, 2015) (denying request to
           19
                   add high-level executives to a custodial list because “Plaintiff has not satisfied his burden to show that
           20
                   these high level executives have unique or personal knowledge of the subject matter that warrants their
           21
                   information”); Harris v. Union Pacific Railroad Co., 2018 WL 2729131, at *1 (D. Neb. June 6, 2018)
           22
                   (denying motion to compel production of CEO’s documents, finding there was not “a sufficient
           23
                   showing that this information is necessary and not cumulative of other materials”).
           24
                          Plaintiffs rely on cases that embrace the same principles. See Mot. at 4. Plaintiffs cite In re
           25
                   EpiPen Mktg., Sales Practices and Antitrust Litigation, which expressly adopts Sedona Principle 6 in
           26
                   holding that “unless the party’s choice is ‘manifestly unreasonable or the requesting party demonstrates
           27
                   that the resulting production is deficient,’ the court should not dictate the designation of ESI
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               1
                   custodians.” No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *2 (D. Kans. March 15, 2018). The
               2
                   court only ordered designation of a “senior executive” as an additional custodian where the requesting
               3
                   party met its burden to show that the custodian was “likely to have unique information and ESI, not
               4
                   available through other [] custodians” where no other executive-level employees were designated as
               5
                   custodians. Id. at *3; see also id. at *2 n.17 (“party moving to compel additional proposed custodians
               6
                   ‘must demonstrate that the additional requested custodians would provide unique relevant information
               7
                   not already obtained’” (quoting Fort Worth Employees’ Ret. Fund v. J.P. Morgan Chase & Co., 297
               8
                   F.R.D. 99, 107 (S.D.N.Y. 2013) (emphasis added))). Likewise, in MariCal, Inc. v. Cooke Aquaculture,
               9
                   Inc., the court found good cause to designate an additional custodian because the requesting party
           10
                   showed that the disputed custodian’s relevant information would not be accessible from the other
           11
                   designated custodians. No. 1:14-cv-00366-JDL, 2016 WL 9459260, at *2 (D. Me. Aug. 9, 2016).
           12
                   Here, Plaintiffs have not met their burden to show that Mr. Zuckerberg and Ms. Sandberg’s custodial
           13
                   files are likely to contain substantial relevant information that does not appear in the files of one or
           14
                   more current custodians, including two dozen executive-level custodians.
           15
                          Plaintiffs cite Shenwick v. Twitter as an example of a court ordering a CEO to be designated as
           16
                   a document custodian where the CEO was involved in events at issue in the litigation. No. 16-CV-
           17
                   05314-JST (SK), 2018 WL 833085 (N.D. Cal. Feb 7, 2018). But there, the parties had yet to begin
           18
                   document collection and there were just 25 custodians. Id. at *1. Here, by contrast, Facebook’s
           19
                   document collection efforts are far more mature and comprehensive, with 81 custodians designated and
           20
                   hundreds of thousands of documents produced. As a result (and as discussed below), the possibility
           21
                   that Mr. Zuckerberg’s or Ms. Sandberg’s files could contain a very small number of relevant documents
           22
                   that are not also available in the files of one of the 81 existing custodians is vanishingly low, and
           23
                   insufficient to justify the intrusion of the broad, largely indiscriminate search Plaintiffs demand,
           24
                   especially given Plaintiffs’ inability to identify any gaps in Facebook’s production or demonstrate that
           25
                   Mr. Zuckerberg and Ms. Sandberg have unique documents. Moreover, Judge Corley’s prior orders
           26
                   already account for the possibility that Mr. Zuckerberg or Ms. Sandberg might have some unique
           27
                   documents, which was the rationale for the court’s decision in Shenwick. Id. (“It is always possible
           28
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               1
                   that one custodian will have a document or documents that other custodians have not retained.”)
               2
                      2.        Plaintiffs fail to show that Mr. Zuckerberg and Ms. Sandberg are likely to possess
               3                information that is both unique and relevant.

               4           Plaintiffs ignore Judge Corley’s direction that any collection from Mr. Zuckerberg and Ms.

               5   Sandberg’s custodial files should be narrowly tailored to fill any gaps identified in Facebook’s already-

               6   substantial document production. Instead, they take a blunderbuss approach that would require full-

               7   blown collection, search, and review of Zuckerberg and Sandberg’s files (not merely targeted

               8   collections) on at least 34 separate RFPs. But their motion makes no effort to identify specific gaps in

               9   Facebook’s production, and it fails to show that Mr. Zuckerberg’s and Ms. Sandberg’s files are likely

           10      to contain a substantial volume of unique relevant information.

           11              a.      Facebook has been more than reasonably diligent in searching for relevant,
                                   responsive documents.
           12              Even though Facebook has already produced more than 500,000 documents in this action,
           13      Swanson Decl., ¶ 3, Plaintiffs’ motion does not even attempt to identify any deficiency or gap in
           14      Facebook’s production that can only be filled by making Mr. Zuckerberg and Ms. Sandberg custodians.
           15              And there is no reason to expect that any such gap exists. Facebook has agreed to collect
           16      documents from the files of 81 document custodians who were carefully selected based on their
           17      involvement with the live issues in this case, such as Facebook’s relationships with third-party app
           18      developers and so-called “business partners,” data sharing, and Cambridge Analytica. Many of these
           19      custodians are high-level executives in their own right who report directly to, or otherwise work closely
           20      with, Mr. Zuckerberg and Ms. Sandberg. To name a few:
           21         ● Chris Cox, Facebook’s Chief Product Officer, reports directly to Mr. Zuckerberg and was
                        selected as a custodian in part because of his involvement in designing the Facebook Platform,
           22           which enables app development by third-parties.

           23         ● Justin Osofsky, Facebook’s Chief Operations Officer of Instagram and Vice President of Global
                        Operations, reports directly to Ms. Sandberg.
           24         ● Francisco Varela, Facebook’s Vice President for Mobile Partnerships, works on third party
                        integrations and private application programming interfaces (APIs).
           25
                      ● Erin Egan, Facebook’s Vice President of Public Policy and Chief Privacy Officer, works on a
           26           wide range of privacy issues, including relating to data sharing.

           27         ● Mike Vernal worked at Facebook for eight years, eventually reporting directly to Mr.
                        Zuckerberg as Vice President of Engineering. Mr. Vernal was involved in the design and
           28           implementation of changes to Facebook’s infrastructure, including with respect to availability
                        of user data to third party app developers.
                                                                    8
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               1       ● Dan Rose, at Facebook from 2006 to 2019, reported directly to Ms. Sandberg as Facebook’s
                         Vice President of Partnerships. Mr. Rose was selected as a custodian for his involvement in
               2         Facebook’s relationships with integration partners.
               3   As these examples illustrate, Facebook’s long list of custodians contains a number of high-level

               4   management personnel who worked closely with Mr. Zuckerberg and Ms. Sandberg and were directly

               5   involved in the events Plaintiffs’ claims are based on. It is therefore highly unlikely that adding Mr.

               6   Zuckerberg and Ms. Sandberg as custodians will lead to discovery of non-duplicative information,

               7   much less any unique relevant documents or information that would be important to resolving the issues

               8   in this case.

               9           b.      Plaintiffs do not show that Mr. Zuckerberg and Ms. Sandberg are likely to have
                                   documents that fill substantial gaps in Facebook’s comprehensive document
           10                      production.

           11              Most of Plaintiffs’ motion is devoted to showing that Mr. Zuckerberg and Ms. Sandberg

           12      sometimes appear on responsive documents. Plaintiffs’ heavy reliance on documents Facebook has

           13      already produced from current custodians undermines any notion that Mr. Zuckerberg and Ms.

           14      Sandberg are likely to have a substantive volume of unique documents. Plaintiffs’ documents do not

           15      reveal a CEO and COO with an unusually extensive level of personal involvement in the company’s

           16      decision making and operations. Rather, they show Zuckerberg and Sandberg in supervisory roles,

           17      providing high-level guidance and final approval on a small number of discrete issues, while trusting

           18      the details of execution to other personnel—personnel whose inclusion as custodians is more than

           19      enough to ensure that sufficient relevant documents will be produced in discovery.

           20              For example, Plaintiffs quote Monika Bickert—Facebook’s former Lead Security Counsel and

           21      Head of Global Policy Management now Vice President of Content Policy and a designated custodian

           22      in this case—explaining that Facebook employees “will absolutely loop in” Mr. Zuckerberg and Ms.

           23      Sandberg on important issues, by, for instance, “send[ing] an email to Mark and Sheryl so that they

           24      know what’s going on.” Weaver Decl., Ex. 6. Ms. Bickert’s remarks do not show that Mr. Zuckerberg

           25      and Ms. Sandberg are likely to have unique information. To the contrary, they indicate that Mr.

           26      Zuckerberg and Ms. Sandberg become involved when personnel who are already custodians provide

           27      updates on important issues or affirmatively solicit and receive their input.

           28              Plaintiffs also focus on the claim of Sandy Parakilas—another designated custodian—that Mr.

                                                                       9
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               1
                   Zuckerberg had to approve “‘any decision to ban an app’ for violating Facebook’s policies related to
               2
                   user information,” such as
               3
                                                                                       Mot. at 5, citing Weaver Decl., Exs.
               4
                   7-8. But Mr. Zuckerberg’s final signoff for such actions hardly demonstrates that he has unique
               5
                   documents or information reflecting Facebook’s enforcement of its policies governing relationships
               6
                   with third party apps. Indeed, the email
               7

               8
                                                                               —all of whom are designated custodians.
               9
                   Weaver Decl., Ex. 8; see also id., Ex. 9
           10
                                                                                   .
           11
                           Plaintiffs point to communications showing Mr. Zuckerberg’s involvement in Facebook’s
           12
                   efforts to                                                                     . Weaver Decl., Exs. 10-
           13
                   12. But these documents all show Mr. Zuckerberg working as a member of teams that included multiple
           14
                   designated custodians, such as Mike Vernal, Justin Osofsky, Dan Rose, Sam Lessin, Javier Olivan,
           15
                   Chris Cox, and Vladimir Fedorov. Far from suggesting the existence of unique, relevant information
           16
                   that only Mr. Zuckerberg has access to, these documents establish that relevant information, even high
           17
                   level strategic planning, was widely distributed to key personnel within Facebook (many of whom are
           18
                   already custodians) for them to work out the details.
           19
                           Plaintiffs claim Ms. Sandberg’s participation in an email chain
           20

           21
                                                                                                  Mot. at 9 (citing Weaver
           22
                   Decl., Ex. 22). But Ms. Sandberg’s influence at Facebook is not at issue here. The issue is whether
           23
                   Plaintiffs have shown that Ms. Sandberg should be made a document custodian because she likely has
           24
                   a significant quantity of unique, relevant documents likely to be of importance to Plaintiffs’ claims.
           25
                   The documents Plaintiffs cite here suggest she does not. Instead, they again show that Ms. Sandberg
           26
                   wields her influence through collaboration with teams of management personnel, many of whom, such
           27
                   as Dan Rose, Sam Lessin, and Justin Osofsky, are already custodians. See Weaver Decl., Ex. 22.
           28
                                                                     10
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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               1
                          Plaintiffs argue that Ms. Sandberg’s files are needed to
               2

               3

               4
                                                              Mot. at 10 (quoting Weaver Decl., Ex. 25). This argument
               5
                   reflects Plaintiffs’ general strategy of trying to shamelessly stuff every third-party relationship
               6
                   imaginable into the so-called “business partner” allegations that Judge Chhabria allowed to move
               7
                   forward. Having found no gaps in Facebook’s productions that collections from Ms. Sandberg could
               8
                   possibly fill, Plaintiffs are attempting to manufacture a gap by arguing that Ms. Sandberg may have
               9
                   documents relating to allegations that Judge Chhabria expressly said would not move forward.
           10
                          One of the four categories of allegations Judge Chhabria allowed to move forward concerns
           11
                   Facebook’s alleged unauthorized sharing of user data with certain “business partners.” Dkt. 298 at 8.
           12
                   This category does not encompass every interaction between Facebook and another business involving
           13
                   some transfer of data; there is no way to read Plaintiffs’ “business partner” allegations to be about
           14
                   anything other than what Plaintiffs described as entities with whom Facebook partnered to “develop
           15
                   and integrate Facebook’s User Platform on multiple devices and operating systems” through the use of
           16
                   “private APIs.” See SACC ¶¶ 430-440. In allowing this category of allegations to move forward,
           17
                   Judge Chhabria repeated that it concerned partnerships designed to “outsource[] to business partners
           18
                   ‘the time, labor, and money required to build Facebook’s Platform on different devices and operating
           19
                   systems.’” Dkt. 298 at 8 (quoting Dkt. 491 at ¶ 433).
           20
                          Plaintiffs’ Exhibit 25, refers to something completely different—
           21

           22
                                                                    . Swanson Decl., Ex. 5 (Dep. of A. Lee), 194:13-18;
           23
                   see also Integritymessageboards.com v. Facebook, Inc., No. 18-cv-05286-PJH, 2021 WL 3771785 at
           24
                   *2-3 (describing “Partner Categories” as part of Facebook’s “Ads Manager website interface.”) As
           25
                   Facebook’s 30(b)(6) deponent testified,
           26
                                                                    , and Exhibit 25 does not show otherwise. Swanson
           27
                   Decl., Ex. 5 at 200:4-16. In fact, Plaintiffs’ complaint expressly distinguishes “data brokers” from
           28
                                                                     11
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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               1
                   “business partners,” describing “data brokers” as parties with which Facebook worked to collect data
               2
                   about users for “psychographic marketing” and “targeted advertising.” Compare Dkt. 491 at ¶ 433,
               3
                   with id. at ¶¶ 16, 263–69, 718, 800. Consistent with those allegations,
               4
                                           , and Judge Chhabria made clear that Plaintiffs’ targeted advertising and
               5
                   “psychographic marketing” allegations would not move forward. See Dkt. 298 at 6. The parties are
               6
                   separately litigating Plaintiffs’ overbroad view of the “business partner” theory; if the Special Master
               7
                   is inclined to find the portions of Exhibit 25 that Plaintiffs cite relevant, Facebook respectfully requests
               8
                   the Special Master to refrain from doing so without the benefit of Facebook’s full briefing on this issue,
               9
                   which it will submit on October 13. But the Special Master need not reach this issue in connection
           10
                   with the current dispute. Even if the details about targeted advertising in Exhibit 25 were relevant to
           11
                   data sharing—and again they are not—nothing about the document suggests that Ms. Sandberg has
           12
                   unique information about targeted advertising.
           13
                          Plaintiffs’ argument that Ms. Sandberg should be made a document custodian because media
           14
                   reports claim she leads Facebook’s “monetization of data” fails for similar reasons. Mot. at 7-8.
           15
                   Facebook’s general business model of selling the opportunity to show advertisements to Facebook
           16
                   users is not at issue in this action. See Dkt. 298 at 6. Plaintiffs do not explain how “monetization” in
           17
                   general is relevant, much less that Ms. Sandberg’s files on “monetization” would be relevant and not
           18
                   duplicative of documents held by, for example, designated custodians Deborah Liu, who worked as
           19
                   Director of Product Management for Platform Monetization, and Chemath Palihapitiya, a former Vice
           20
                   President for Platform Monetization.
           21
                          Plaintiffs claim that Exhibit 20 to the Weaver Declaration (virtually identical to Exhibit 12)
           22
                   shows that Ms. Sandberg has unique information about “whitelisting,” Mot. at 8, but that document
           23
                   simply shows Ms. Sandberg
           24
                                                                                 . So here again, Exhibit 20 does not merely
           25
                   fail to indicate that there is a gap in Facebook’s existing production—it shows the opposite.
           26
                          Plaintiffs further contend that Ms. Sandberg will have unique information about whitelisting
           27
                   because she
           28
                                                                       12
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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               1
                                                                   Mot. at 8 (citing Weaver Decl., Ex. 21). In fact, Ms.
               2
                   Sandberg
               3

               4

               5

               6

               7
                          Plaintiffs’ exhibits showing Mr. Zuckerberg and Ms. Sandberg’s role in Facebook’s response
               8
                   to the Cambridge Analytica events also do not meet their burden to prove that there are gaps in
               9
                   Facebook’s productions that would be filled by adding Mr. Zuckerberg and Ms. Sandberg as
           10
                   custodians. Plaintiffs’ litigation choices have reduced the Cambridge Analytica event to a mere sliver
           11
                   of this case. And the documents Plaintiffs cite merely show Facebook’s leaders providing high level
           12
                   guidance to large teams and show that discovery from the existing custodians is sufficient. Mr.
           13
                   Zuckerberg and Ms. Sandberg’s role as company spokespersons do not give rise to a presumption that
           14
                   either is likely to be the sole source of unique relevant documents on the Cambridge Analytica events.
           15
                          Plaintiffs also note that Mr. Zuckerberg announced the launch of an investigation into app
           16
                   developers’ use of the platform (the ADI), but Mr. Zuckerberg was not personally involved in
           17
                   conducting ADI, and, as Plaintiffs acknowledge, the Court has already ordered that certain ADI
           18
                   materials should be produced separately. That order obviates any need to add Mr. Zuckerberg as a
           19
                   custodian on ADI issues. Mot. at 6, 9.
           20
                          Plaintiffs contend that Ms. Sandberg has unique information because shortly after the
           21
                   Cambridge Analytica events,                                                      Mot. at 9-10 (citing
           22
                   Weaver Decl., Ex. 24). This argument is a red herring. There has been no
           23
                                                            , and the ADI materials Judge Corley ordered Facebook to
           24
                   produce will show no data misuse akin to the Cambridge Analytica events. Plaintiffs have made no
           25
                   showing that documents
           26
                   will be found among Ms. Sandberg’s custodial files. Mot. at 10. In any event, Ms. Sandberg was not
           27
                   involved in ADI, so there is no reason to believe relevant documents would be uniquely located in her
           28
                                                                    13
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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               1
                   files. Plaintiffs cannot support their speculation that, contrary to her typical approach to management,
               2
                   Ms. Sandberg                                                                                      .
               3
                          Plaintiffs cite documents related to Mr. Zuckerberg and Ms. Sandberg’s role regarding
               4
                   Facebook’s position on privacy issues in an attempt to argue that their files will reveal whether
               5
                   Facebook’s internal policies diverged from their public messaging. See Weaver Decl., Exs. 17, 27-29.
               6
                   But this case is not about privacy writ large. It is about specific, long-defunct data-sharing practices,
               7
                   and the documents Plaintiffs cite contain nothing to suggest that Mr. Zuckerberg and Ms. Sandberg are
               8
                   likely to have unique materials about those practices. To the contrary, the documents cited by Plaintiffs
               9
                   show that, while Mr. Zuckerberg and Ms. Sandberg may approve a general course developed and
           10
                   proposed by others, they depend on others—including many of the custodians in this case—to put
           11
                   Facebook’s internal policies into practice. The information held by those custodians is more than
           12
                   sufficient to illuminate the consistency between Facebook’s external representations and internal
           13
                   practices, even if such consistency were relevant to Plaintiffs’ claims (which it is not).
           14
                          Plaintiffs fail to show that Mr. Zuckerberg’s and Ms. Sandberg’s files constitute the only, or
           15
                   even the best, sources of evidence of the Facebook conduct and policies that are at issue in this case.
           16
                    B.     Following the Court-ordered document production process will not delay completion of
           17              discovery.
           18             Plaintiffs put the cart before the horse when they urge the Special Master to scrap Judge

           19      Corley’s Order on the timing and scope of document collection from custodians beyond the current list

           20      of 81 because they are afraid Facebook will deliberately run out the clock on discovery, leaving no

           21      time to collect documents from Mr. Zuckerberg and Ms. Sandberg. For the reasons explained above,

           22      there is no need to collect and produce documents from Mr. Zuckerberg and Ms. Sandberg, so

           23      Plaintiffs’ concern about the timing of that collection and production is misplaced.

           24             But Plaintiffs’ concern would be misplaced in any event. The substantial-completion deadline

           25      is January 31, 2022, and discovery does not close until June 2022. Dkt. 706. So there would be several

           26      months to conduct targeted collections and make small productions from Mr. Zuckerberg’s and Ms.

           27      Sandberg’s files if Plaintiffs were able to make a compelling and particularized showing that doing so

           28      is necessary to fill gaps in Facebook’s production. Nor is Facebook’s production proceeding at a
                                                                      14
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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               1
                   “glacial” pace, as Plaintiffs contend. Facebook has produced more than 100,000 documents in the last
               2
                   three months. Swanson Decl., ¶ 3. More to the point, the type of highly targeted gap-filling production
               3
                   Judge Corley’s Order contemplates could typically be completed without significant delay.
               4
                           Finally, while Plaintiffs’ motion does not demand the depositions of Mr. Zuckerberg and Ms.
               5
                   Sandberg, 1 there is likewise no risk that a targeted collection of documents from Mr. Zuckerberg’s and
               6
                   Ms. Sandberg’s files after January 2022 would delay depositions. Collection from their files need not
               7
                   occur before the depositions of other custodians commence; another custodian’s interactions with
               8
                   Zuckerberg or Sandberg would be captured by the collection and production from that custodian’s files.
               9
                   And if Zuckerberg and Sandberg’s depositions are required over Facebook’s objections, they will be
           10
                   the last of Facebook’s witnesses to be deposed, since there is no question that they are apex personnel.
           11
                   See Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., No. 12CV03844JST (MEJ), 2014 WL
           12
                   5387936, at *1 (N.D. Cal. Oct. 21, 2014) (explaining that the party seeking apex deposition bears the
           13
                   burden to show, inter alia, that the deponent has unique first-hand knowledge).
           14
                           There is thus no reason to depart from Judge Corley’s Order that Mr. Zuckerberg and Ms.
           15
                   Sandberg shall not be made custodians, certainly not before Facebook’s document production is
           16
                   substantially complete, and certainly not for anything more than “very targeted” collections. Swanson
           17
                   Decl., Ex. 3 at 48:8-11; Dkt 588. If the Special Master nevertheless determines that Mr. Zuckerberg
           18
                   and Ms. Sandberg may possess unique relevant documents, Judge Corley’s determination that searches
           19
                   of their files would be “very targeted,” should still be respected. The parties should then meet and
           20
                   confer regarding the specific and narrow subject matter of any such search based on any true gaps
           21
                   identified by Plaintiffs.
           22
                                                          IV.     CONCLUSION
           23
                           Having already failed three times to convince the Court to designate Mr. Zuckerberg and Ms.
           24
                   Sandberg as document custodians, Plaintiffs seek a fourth bite at the apple. But they have failed to
           25
                   make the required showing that Mr. Zuckerberg and Ms. Sandberg are likely to possess documents that
           26
                   are both relevant and unique. Facebook respectfully asks the Special Master to deny Plaintiffs’ motion.
           27
                   1
           28        It is Facebook’s position that depositions of Mr. Zuckerberg or Ms. Sandberg are not warranted in
                   this case.
                                                                      15
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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           19

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                                                             16
Gibson, Dunn &     FACEBOOK’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL M. ZUCKERBERG AND S. SANDBERG AS
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                                                    DOCUMENT CUSTODIANS
                                                   CASE NO. 3:18-MD-02843-VC
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   EXHIBIT C
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                              UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
10

11
     IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12   PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC
13                                                  REPLY IN SUPPORT OF PLAINTIFFS’
     This document relates to:                      MOTION TO COMPEL MARK
14                                                  ZUCKERBERG AND SHERYL
     ALL ACTIONS                                    SANDBERG AS DOCUMENT
15                                                  CUSTODIANS
16                                                  Judge: Hon. Vince Chhabra
                                                    Hon. Jacqueline Scott Corley
17                                                  Special Master Daniel Garrie
                                                    Courtroom: 4, 17th Floor
18
                                                    JAMS Ref. No.: 1200058674
19
                                                    ORAL ARGUMENT REQUESTED
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     REPLY ISO MOT. TO COMPEL                                               i                                             MDL NO. 2843
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                                                                                                             JAMS REF. NO.: 1200058674
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 1   I.      INTRODUCTION
 2           Facebook asserts that “[n]othing has changed” since December 11, 2020, when Judge
 3   Corley deferred Plaintiffs’ request to add Mr. Zuckerberg and Ms. Sandberg as custodians, saying
 4   it was “premature at this time.” Opp. at 4; Dkt. No. 588. Not so. Ten months have passed and
 5   Judge Chhabria has imposed a substantial completion deadline that is less than four months away.
 6   According to Facebook, initial custodial production is almost complete. And Plaintiffs have
 7   adduced substantial evidence demonstrating that Zuckerberg and Sandberg should be added as
 8   custodians. Adding them is certainly not premature now.
 9           Notably, Facebook does not contend that Zuckerberg’s or Sandberg’s custodial files are
10   irrelevant. And Facebook only gestures at Rule 26(b)(1)’s requirement that discovery be
11   proportional to the needs of the case, asserting that it somehow gives rise to a “good cause”
12   requirement to add executive custodians. Opp. at 5. That is not a Rule 26(b)(1) requirement and it
13   contradicts Judge Chhabria’s admonishment that this is not the type of case where Facebook can
14   successfully argue that, though an “effort might end up uncovering some relevant information . . .
15   it is just too expensive or difficult, and so we are not going to make Facebook do it.” Ex. 30 at
16   29.1
17           Rather, Facebook insists Plaintiffs must meet a contrived standard that none of
18   Zuckerberg’s and Sandberg’s custodial documents will be collected and produced through other
19   custodians. But even if this were the proper standard, given their unique roles and direct
20   involvement in formulating and implementing the privacy and data sharing practices at the heart
21   of this litigation, and Facebook’s effort to investigate and manage the Cambridge Analytica crisis,
22   it cannot credibly be denied that Zuckerberg and Sandberg do have unique custodial documents.
23           Further, Plaintiffs have shown far “‘more than mere speculation’” that Zuckerberg’s and
24   Sandberg’s custodial files will contain information “‘that differs from discovery they have
25   already obtained from the other[]’” custodians. Opp. at 5 (citations omitted). Plaintiffs’
26
     1
      All exhibit references are to the Declaration of Lesley E. Weaver in Support of Plaintiffs’
27   Motion to Compel Mark Zuckerberg and Sheryl Sandberg as Document Custodians or the
     Declaration of Lesley E. Weaver in Support of Reply Regarding Plaintiffs’ Motion to Compel
28   Mark Zuckerberg and Sheryl Sandberg as Document Custodians.
     REPLY ISO MOT. TO COMPEL                          1                                     MDL NO. 2843
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 1   allegations draw extensively from statements made by Zuckerberg and Sandberg themselves, as
 2   well as from evidence showing that Facebook employees informed Zuckerberg and Sandberg
 3   about risks regarding third party access to users’ information—risks they decided were
 4   appropriate to bear in pursuit of profit. And Plaintiffs’ opening brief identifies documents
 5   Zuckerberg or Sandberg sent or received that indicate their intimate involvement in discussions
 6   and decisions about the core issue in this case—access to and misuse of users’ information—and,
 7   thus, provide support that other relevant documents exist on these topics in Zuckerberg’s and
 8   Sandberg’s files. This showing is more than sufficient to justify Zuckerberg’s and Sandberg’s
 9   addition as custodians.
10   II.    FACEBOOK MISREPRESENTS THE RELEVANT HISTORY AND RECORD
11          Contrary to Facebook’s implication, Judge Corley has not ever substantively denied
12   Plaintiffs’ request to add Zuckerberg and Sandberg as custodians. Rather, she merely delayed
13   ruling on the issue, twice instructing Plaintiffs to wait and once calling the request “premature at
14   this time.” Dkt. No. 588 at ¶ E. Notably, Judge Corley recently relied on Zuckerberg’s public
15   statements about ADI in ordering production of those documents. Dkt. No. 742. Zuckerberg’s
16   statements regarding privacy and Facebook’s failure to prevent data misuse by app developers are
17   core to Plaintiffs’ case, and Plaintiffs should be allowed to access discovery related to these
18   statements.
19          Facebook also substantially overstates its production. While literally true that Facebook
20   has produced more than 500,000 documents (515,092 to be exact), approximately 252,000 of the
21   documents comprise information about the activity of current and former named plaintiffs on the
22   platform that was already directly available to plaintiffs; approximately 113,000 lack meaningful
23   content, including .bmp or embedded images spun off from other documents and “document[s]
24   that cannot be converted”; and approximately 74,000 comprise documents previously produced to
25   governmental investigators. Relatedly, Facebook states that it has produced more than 100,000
26   documents in the last three months. Opp. at 15. The exact number is 120,258—but approximately
27   96,000 lack any meaningful content for the same reasons identified above (e.g. .bmp or embedded
28

     REPLY ISO MOT. TO COMPEL                          2                                     MDL NO. 2843
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 1   images). In total, Facebook’s custodial production resulting from the application of search strings
 2   total only 166,000 documents with any substantive content.
 3           It has taken Facebook almost a year and a half to produce these documents. After the 81
 4   initial custodians were finalized on May 15, 2020, Facebook insisted on negotiating specific
 5   search strings to apply to each custodian. This process significantly delayed production, causing a
 6   years-long negotiation over the search strings to apply to the 81 custodians that was completed on
 7   June 7, 2021. Yet, Facebook still has not completed production from their files.
 8           Past being prologue, and contrary to Facebook’s suggestion, it is unlikely Facebook would
 9   be able to quickly complete production from Zuckerberg’s and Sandberg’s custodial files. Thus,
10   the suggestion that Zuckerberg and Sandberg be further deferred as custodians is impractical, as it
11   is highly unlikely that Facebook would be able to produce, and Plaintiffs would have the
12   opportunity to take further discovery based on information generated from this production, within
13   Judge Chhabria’s discovery deadlines.
14   III.    ARGUMENT
15           Facebook should be compelled to add Zuckerberg and Sandberg as document custodians
16   because of their intimate involvement in the issues and exchanges at the heart of Plaintiffs’
17   claims. Courts routinely order the addition of custodians who, like here, are “involved in
18   discussions and decisions regarding” the facts at issue. In re EpiPen (Epinephrine Injection, USP)
19   Mktg., Sales Practices and Antitrust Litig., No. 17-md-2785-DDC-TJJ, 2018 WL 1440923, at *3-
20   4 (D. Kan. Mar. 15, 2018) (adding former CEOs as document custodians); see also Shenwick v.
21   Twitter, No. 16-CV-05314-JST (SK), 2018 WL 833085, at *1 (N.D. Cal. Feb 7, 2018) (granting
22   request to add Jack Dorsey given his involvement in the allegations); MariCal, Inc. v. Cooke
23   Aquaculture, Inc., No. 1:14-cv-00366-JDL, 2016 WL 9459260, at *2 (D. Me. Aug. 9, 2016)
24   (granting request to add custodian who were likely “involved in discussions regarding” the
25   patents at issue).
26           Styleform IT v. Facebook, Inc. et al.—a case alleging that Facebook and Zuckerberg
27   duped app developers to build apps that relied on users’ and friends’ data from Facebook’s
28

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 1   platform but then limited access to that data to only whitelisted apps—serves as a prescient
 2   example. There, the court recently granted plaintiff’s motion to compel Zuckerberg, Sandberg,
 3   and other executives as document custodians, finding they were likely to have unique and non-
 4   cumulative information relevant to plaintiff’s allegations regarding Facebook’s
 5   misrepresentations about API access. Order re Three Discovery Motions, No. CGC-18-571075
 6   (S.F. Super. Ct. Sept. 14, 2021), Ex. 32 at 8.
 7          Even more so than in Styleform, Zuckerberg and Sandberg are involved in the matters at
 8   issue in this litigation. Zuckerberg and Sandberg have made no secret of the critical roles they
 9   played in the practices at the heart of this case. They are both appropriate and necessary
10   custodians.
11          A.      Zuckerbergp’s and Sandberg’s Knowledge and Statements Are At the Heart
12                  of Plaintiffs’ Allegations
            Facebook asserts that Zuckerberg’s and Sandberg’s relevant involvement was limited to
13
     “high-level guidance and final approvals,” contending they weren’t really involved in decisions at
14
     the heart of this case. Opp. at 2. That assertion is contradicted by Zuckerberg’s own public
15
     statements and ignores Plaintiffs’ allegations, which are based substantially on the specific
16
     statements and actions of Zuckerberg and Sandberg.
17
            Zuckerberg himself promised that Facebook provided users with “‘complete control over
18
     who they share with at all times’” by “‘giving you tools to control who can see your information
19
     and then making sure only those people you intend can see it.’” SACC at ¶ 18 (citation omitted).
20
     And Zuckerberg himself said it was “‘my mistake’” that Facebook didn’t “‘take a broad enough
21
     view of what our responsibility is’” to “’preven[t] abuse and think[] through how people could
22
     use these tools to do harm’” in the context of “‘data privacy.’” Id. at ¶ 19 (citation omitted).
23
     Zuckerberg’s promise and “‘mistake’” are core to Plaintiffs’ case, among other things animating
24
     the claims for breach of contract, breach of the implied covenant of good faith and fair dealing,
25
     privacy, and negligence.
26
            And Sandberg led Facebook’s effort to monetize users’ information, including that which
27
     was shared without their knowledge or consent. She not only echoed Zuckerberg’s call for full
28

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 1   reciprocity as a means to generate revenue (Id. at ¶ 657(f)), but is also widely credited as the
 2   driver of Facebook’s revenues. See, e.g., Leslie Bradshaw, The Sheryl Sandberg Effect: Rise of
 3   Female COOs, NPR (Aug. 9, 2013) (“Zuck may have founded Facebook, but Sheryl Sandberg
 4   monetized it.”).2 The monetization of users’ information that they did not consent to be shared
 5   with or made available to third parties is the basis for Plaintiffs’ contract, breach of the implied
 6   covenant of good faith and fair dealing, privacy, and unjust enrichment claims.
 7           B.     The Evidence Shows Zuckerberg’s and Sandberg’s Detailed and Intimate
                    Knowledge of Friend Sharing, Whitelisting, and Business Partners
 8
             Plaintiffs’ Motion demonstrates that Zuckerberg and Sandberg shaped Facebook’s
 9
     platform around friend sharing. For instance,
10

11
                                      Ex. 10; see also Ex. 12
12
                                                                                . Likewise, Sandberg
13
                                                        . See, e.g. Id. at FB-CA-MDL-01681584
14
                                                                        . Zuckerberg’s and Sandberg’s
15
     custodial files will assuredly contain additional relevant information regarding friend sharing on
16
     Facebook.
17
             Facebook argues that Plaintiffs have not identified a gap in the production because these
18
     documents only show that Zuckerberg and Sandberg provided “high-level guidance” distributed
19
     to existing custodians, among others. Opp. at 9. To state the obvious, as Zuckerberg and Sandberg
20
     are not custodians, Plaintiffs are largely only able to view their contributions in the context of
21
     information shared with other custodians. While Facebook has produced some of Zuckerberg’s
22
     and Sandberg’s communications with existing custodians, Facebook has not provided other
23
     documents reflecting their thoughts. Indeed, despite evidence that both Zuckerberg and Sandberg
24
     communicated frequently by email and instant messages, Facebook has produced only a handful
25

26

27
     2
      Available at https://www.npr.org/sections/alltechconsidered/2013/08/06/209483329/the-sheryl-
28   sandberg-effect-rise-of-female-coos.
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 1   of documents reflecting their communications solely to one another or between them and the
 2   board members.
 3          Plaintiffs’ Motion also demonstrates Zuckerberg’s and Sandberg’s
 4                                                    . E.g. Ex. 21
 5

 6                                       . And though Sandberg
 7

 8   (Ex. 25), Facebook argues this document shouldn’t be considered because it relates to
 9                              . Opp. at 11. But Facebook misrepresents the document and its
10   relevance to Plaintiffs’ business partner claims.
11          First, the document establishes Facebook’s
12

13                                                   . Opp. at 11
14                                                                                     . This document
15   reveals that Facebook,                                                       . The document states:
16                                                                                             Id. at
17   Slide 5. This                                       fits squarely into the Court’s definition of
18   business partners. Order re Business Partners, Dkt. No 608 at 2 (defining business partner in the
19   context of Facebook interrogatory responses to include “all companies with which Facebook
20   agreed to exchange information about users’ activities with each other.”).
21          Second, the
22                               . The presentation states that
23                                                           . Ex. 25 at Slide 6. Facebook argues it
24   “never sold its users’ [PII] to ‘data brokers’” (Opp. at 11), but its own 30(b)(6) witness testified
25   that
26                                      . Swanson Decl., Ex. 5 at 200:21-25. Regardless, information in
27

28

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 1   Sandberg’s possession regarding                                                                 is
 2   relevant and should be produced.
 3          Third, this
 4                                                          . For example, Slide 8 discusses
 5

 6                                                                           No matter how the Special
 7   Master resolves the pending dispute regarding the definition of business partners, the presentation
 8   clearly concerns other aspects of the case defined by Judge Chhabria.
 9          C.      The Evidence Shows Zuckerberg’s and Sandberg’s Detailed and Intimate
                    Knowledge of Third-Party Misuse of User Information
10
            The evidence also shows Zuckerberg and Sandberg themselves initiated and shaped
11
     Facebook’s response to the Cambridge Analytica scandal, including ADI, which will help define
12
     the true scope of Facebook’s failure to monitor third party access to and use of friend information.
13
            For example, the day of her first public interview after the Cambridge Analytica scandal
14
     broke, Sandberg
15

16
                                         Ex. 24 at FB-CA-MDL-01184406. While Facebook baldly
17
     asserts that this document is a “red herring” because Sandberg was not involved in ADI (Opp. at
18
     13), newly produced evidence shows otherwise. A
19

20

21

22

23
                                   Ex. 33 at FB-CA-MDL-01950694; see Ex. 34 at FB-CA-MDL-
24
     01950669
25
                                                                                                          .
26

27
                                                              See Ex. 14. These messages do not
28

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 1   reflect Sandberg’s “high-level guidance.” Opp. at 2. Rather, they reflect
 2                                                                           .
 3          Likewise, the evidence demonstrates Zuckerberg’s intimate involvement in Facebook’s
 4   enforcement against third parties, including deciding when, how, and against whom Facebook
 5   should enforce. In the wake of the Cambridge Analytica scandal, Zuckerberg himself announced
 6   that he was committed to uncovering the scope of the problem stating: “I’ve been working to
 7   understand exactly what happened and how to make sure this doesn't happen again.” Ex. 14.
 8   Facebook asserts that Zuckerberg’s “final signoff” on enforcement actions does not show he has
 9   unique information. Opp. at 10. But the evidence shows Zuckerberg
10                                                                 For instance, after
11

12        Ex. 9 at FB-CA-MDL-00172724; see also Ex. 7 (“[A]ny decision to ban an app” for
13   violating Facebook’s policies related to user information “required the personal approval of the
14   chief executive, Mark Zuckerberg[.]”). Zuckerberg didn’t merely grant final signoff; he was fully
15   briefed on the facts and evaluated them before making decisions.
16          Documents also show that Zuckerberg “took on the role of a wartime leader” in response
17   to the 2018 Cambridge Analytica scandal, locking down Facebook’s external communications
18   until he had a grasp of the situation. Ex. 16. Wartime leaders are not executives who merely sign
19   off on decisions made by others; they are (as Zuckerberg was) the decision makers themselves.
20   And another recently produced document
21

22

23

24

25                               Ex. 35 at FB-CA-MDL-01950915. Zuckerberg’s custodial files will
26   shed considerable new light, unavailable from other sources, on Facebook’s decision-making
27   regarding enforcement with respect to third parties’ access to and misuse of user information,
28

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 1   which are critical issues in this case. Moreover, what Zuckerberg knew about Facebook’s failure
 2   to protect and keep secure user content and information, and when he learned of Facebook’s
 3   failures are directly relevant to the relief Plaintiffs seek in this case.
 4           D.      Facebook’s Authority is Inapt
 5           Because the evidence demonstrates Zuckerberg’s and Sandberg’s intimate involvement in
 6   issues and exchanges at the heart of the allegations, the cases Facebook relies on do not support
 7   shielding Zuckerberg’s and Sandberg’s files from discovery.
 8           For one, Plaintiffs aren’t asking Facebook “to examine every last document in their files.”
 9   Opp. at 5 (citing Lauris v. Novartis AG, No. 116CV00393LJOSAB, 2016 WL 7178602, at *4
10   (E.D. Cal. Dec. 8, 2016)). Rather, Plaintiffs simply seek relevant documents in the files of two
11   key custodians in a company that has more than 50,000 full-time employees. Plaintiffs’ purpose is
12   not “‘to annoy, embarrass, or oppress’” Zuckerberg and Sandberg. Opp. at 6 (citing Hickman v.
13   Taylor, 329 U.S. 495, 507-08 (1947)). And Facebook’s own authority recognizes that a request to
14   add custodians “is not the type of discovery which would create the risk of abuse or harassment.”
15   Lauris v. Novartis AG, at *3.
16           Rather, Plaintiffs’ purpose is to gain access to evidence relevant to Plaintiffs’ claims that
17   cannot be obtained from other sources. Unlike the cases to which Facebook cites, Plaintiffs have
18   identified why they “expect to discover information” from Zuckerberg and Sandberg “that differs
19   from discovery they have already obtained from the others,” Handloser v. HCL Am., Inc., No. 19-
20   cv-01242-LHK (VKD), 2020 WL 7405686, at *2 (N.D. Cal. Dec. 17, 2020), and have “satisfied
21   [their] burden to show that these high level executives have unique or personal knowledge of the
22   subject matter that warrants their information.” Lutzeier v. Citigroup Inc., No. 4:14-cv-00183-
23   RLW, 2015 WL 430196, at *6-7 (E.D. Mo. Feb. 2, 2015) (citation omitted).
24           E.      A Targeted Search of Zuckerberg’s and Sandberg’s Files Is Appropriate
25           As previously stated, Facebook’s concern that Plaintiffs are requesting the wholesale
26   production of Zuckerberg’s and Sandberg’s custodial files distorts Plaintiffs’ request. In
27   accordance with Special Master Order No. 1, Plaintiffs identified several RFPs that this dispute
28

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 1   concerns. Together with either the Discovery Mediators or Special Master Garrie, the parties can
 2   craft an appropriate search methodology for Zuckerberg’s and Sandberg’s custodial files. The
 3   parties can discuss, for example, the application of search terms and/or the use of TAR, as well as
 4   any other protocols suggested by the Discovery Mediators or decided by the Special Master. See
 5   Williams v. Apple, Inc., No. 19-cv-04700-LHK (VKD), 2020 WL 5107639, at *2 (N.D. Cal. Aug.
 6   31, 2020) (“[Defendant’s] burden can be substantially mitigated by application of appropriately
 7   narrow search terms and de-duplication of ESI across custodians.”).
 8   IV.    CONCLUSION
 9          Plaintiffs ask the Special Master to compel Facebook to designate Zuckerberg and
10   Sandberg as custodians because their knowledge, statements, and actions run to the very heart of
11   this case. Facebook should be required to collect Zuckerberg’s and Sandberg’s custodial files,
12   with the manner of review and production of their files subject to the parties’ agreement or the
13   Special Master’s direction.
14

15
      Dated: October 12, 2021                              Respectfully submitted,
16
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17
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                                     PROOF OF SERVICE BY E-Mail

             Re: In re: Facebook, Inc. Consumer Privacy User Profile Litigation (Special Master)
                                         Reference No. 1200058674

           I, Anne Lieu, not a party to the within action, hereby declare that on October 22, 2021, I served the

attached Order Regarding Motion to Compel Mark Zuckerberg and Sheryl Sandberg as Document Custodians

on the parties in the within action by electronic mail at El Monte, CALIFORNIA, addressed as follows:


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          I declare under penalty of perjury the foregoing to be true and correct. Executed at El Monte,

CALIFORNIA on October 22, 2021.


/s/ Anne Lieu
Anne Lieu
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